  Case: 2:17-cr-00108-MHW Doc #: 32 Filed: 08/31/18 Page: 1 of 2 PAGEID #: 71



                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

UNITED STATES OF AMERICA,
     Plaintiff,

-V-                                                    Case No. 2:17-cr-108

WILLIAM P. ELSCHLAGER,
      Defendant.

                         NOTICE OF SENTENCING HEARING

      TAKE NOTICE that a Sentencing Hearing in the above captloned case Is
SCHEDULED for THURSDAY, OCTOBER 25, 2018 at 10:30 a.m. This hearing will be
held before the Honorable Michael H.Watson, United States District Judge inCourtroom
No. 3, Joseph P. Kinneary Courthouse, Columbus, Ohio.
I. Sentencing Memoranda

      The Defendant and the Government shall each file a written Sentencing
Memorandum at least two weeks before the Sentencing Hearing. The Sentencing
Memoranda shall address In detail: (a) any unresolved objections to the Presentence
Investigation Report: (b) the statutory sentencing factors; and (c) any proposed variances
from the Guidelines sentencing range.
       At least one week before the Sentencing Hearing, the parties shall file written
responses to the opposing party's Sentencing Memoranda to the extent the Sentencing
Memoranda conflict.

      All Sentencing Memoranda and responses shall cite the applicable statutes.
Guidelines provisions, and case law. Failure to follow these procedures may result in
a waiver of objections or legal arguments.
II. Continuance of Sentencing Hearing
      Leave of Court must be obtained before filing a motion to continue the Sentencing
Hearing, unless the continuance is sought on the basis of a personal or familyemergency.


                                                                               Page 1 of 2
  Case: 2:17-cr-00108-MHW Doc #: 32 Filed: 08/31/18 Page: 2 of 2 PAGEID #: 72



Leave must be requested in person after notification of opposing counsel by making an
appointment with Judge Watson. Continuances of Sentencing Hearings will be granted
only upon written motion filed after obtaining leave, and the Court will not grant any
continuanceon an informal basis. The written motion fora continuanceofthe Sentencing
Hearing must be filed within three days after obtaining leave of Court.
      Leavetofile a motion to continue a SentencingHearing on the basis ofa scheduling
conflict must be sought within one week after the date of this Notice. The Court will not
continue a Sentencing Hearing on the basis of conflicts with proceedings in other courts
that arise after the date of this Notice. The Court will generally defer to previously
scheduled Federal Court proceedings. The Court will defer to previouslyscheduled State
Court proceedings on a case-by-case basis.
      Leave to file a motion to continue a Sentencing Hearing for any reason other than
a scheduling conflict must be sought at ieast ten days before the Sentencing Hearing,
using the same procedure outlined above. Failure to follow these procedures will result in

automatic denial of the request for continuance.

Dated: August 31,2018
                                                   JCHAEL H.WATSON
                                                         STATES DISTRICT JUDGE


cc: Probation                                              erKacsor, Courtroom Deputy
   Pretrlal




                                                                               Page 2 of 2
